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    1                          UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
    2                               SOUTHERN DIVISION

    3     Tia Hall, individually and on behalf
          of all others similarly situated,
    4
                                     Plaintiff,
    5
          -v-                                               Case No. 21-11811
    6
          Farm Journal, Inc., d/b/a
    7     Farm Journal Media,

    8                           Defendant.
          ____________________________________/
    9
                                      MOTION TO DISMISS
   10                                   April 5, 2022

   11                     BEFORE THE HONORABLE DAVID M. LAWSON
                              United States District Judge
   12
                  Theodore Levin United States District Courthouse
   13                       231 West Lafayette Boulevard
                                  Detroit, Michigan
   14
          APPEARANCES:
   15
          FOR THE PLAINTIFF:         FRANK S. HEDIN
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                                     Rochester, Michigan 48307
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   22                                New York, New York 10019

   23     (Appearances Continued to Following Page)

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    1     APPEARANCES CONTINUED:

    2
          FOR THE DEFENDANT:         J. Michael Huget
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    1     Detroit, Michigan

    2     April 6, 2022

    3     2:46 p.m.

    4                                      *       *       *

    5                 THE CLERK:    All rise.       The United States District

    6     Court for the Eastern District of Michigan is now in session,

    7     the Honorable David M. Lawson presiding.

    8                 THE COURT:    You may be seated.

    9                 THE CLERK:    Now calling the case of Hall v. Farm

   10     Journal, Inc., Case Number 21-11811.

   11                 THE COURT:    Good afternoon, counsel.         May I have an

   12     appearance for the plaintiff?

   13                 MR. HEDIN:    Good afternoon, your Honor.         Frank Hedin

   14     on behalf of the plaintiff.

   15                 THE COURT:    All right.         You may remain seated when you

   16     address the Court, presently, under our COVID protocol.

   17                 For the defendant, please?

   18                 MR. HUGET:    Yes.       Good afternoon, your Honor.

   19     Michael Huget and Robert Riley.

   20                 THE COURT:    Which one will be arguing?

   21                 MR. HUGET:    I will, your Honor.         Michael Huget.

   22                 THE COURT:    All right, Mr. Huget.

   23                 Did you read Judge Ludington's opinion?

   24                 MR. HUGET:    Yes, your Honor.

   25                 THE COURT:    How is this case different?


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    1                MR. HUGET:     Honestly, I think Judge Ludington, with

    2     all due respect, got it wrong.

    3                THE COURT:     Well, okay.      So it's not a matter of

    4     trying to distinguish that opinion, you just think that a

    5     different result should result?

    6                MR. HUGET:     Absolutely.      If Judge Ludington had

    7     followed Michigan case law, Michigan Supreme Court, if he had

    8     followed other precedent in this court, in the Sixth Circuit,

    9     he wouldn't have come to the conclusion -- or shouldn't have

   10     come to the conclusion that simply because it's a statutory

   11     cause of action a three-year statute or a six-year statute of

   12     limitation applies.

   13                This Court, in a case we cited, the Herrin v. Dunham

   14     case, you held that a three-year statute of limitations applied

   15     to a 1983 claim in the absence of any other statute of

   16     limitations.

   17                THE COURT:     Well, right, but that -- there's plenty of

   18     precedent for that.       In fact, there is a Sixth Circuit case

   19     that says exactly that, that a 1983 claim is governed by

   20     Michigan's three-year statute of limitations.

   21                Do we have any Michigan case law that determines which

   22     limitation statute applies to Preservation of Personal Privacy

   23     Act claims?

   24                MR. HEDIN:     None, your Honor, other than

   25     Judge Ludington's decision a few weeks ago.


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    1                THE COURT:     I meant from a Michigan court.

    2                MR. HUGET:     No.     I don't think there have been

    3     Michigan court -- I think these have all been Federal court

    4     cases, cases in Federal court, I believe, your Honor.              I'm

    5     not aware of any State court.

    6                THE COURT:     Okay.    Anything further then?      Go ahead

    7     with your argument, if you like.

    8                MR. HUGET:     Oh, thank you, your Honor.

    9                No, I just think that -- and the reason, you know,

   10     when you look at -- the courts basically indicate, the Michigan

   11     courts in particular, that when you're looking in the absence

   12     of a statute of limitations that set forth, what do you look

   13     at, when you look at the nature and origin of the claim, what

   14     does it arise from?

   15                And the courts in Michigan have said that courts

   16     determine whether the claim is founded on a consensual duty

   17     or obligation or the breach of an express promise on the one

   18     hand, or, on the other hand, whether the claim is founded on a

   19     nonconsensual duty or one imposed by law.

   20                If it's the latter, the action is generally governed

   21     by the three-year statute of limitations found in MCL 600.50 --

   22     sorry -- 5805(2).

   23                So when you turn to this case it's important to look

   24     at the nature of the claims being asserted.

   25                The closest analogy is really, this is an invasion of


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    1     privacy claim.     Plaintiff alleges, at various points, various

    2     privacy-type injuries.        And it says in paragraph 47 that she

    3     complains that Farm Journal's alleged use of her subscriber

    4     data discloses customer reading habits and preferences that can

    5     reveal intimate facts about our lives or our political and

    6     religious beliefs or our health concerns.

    7                That's a privacy, that's a personal injury she is

    8     alleging, and it's clearly founded on a nonconsensual duty

    9     imposed by law.      As such, this should fall within the

   10     three-year statute of limitations bucket, not the six-year.

   11                The six-year cases that have all been cited where

   12     courts have determined that there is a six-year statute of

   13     limitations, when you really peel those back, they are cases

   14     that sound in contract in some way.

   15                For example, the Palmer Park case that they rely on

   16     quite a bit is a penalty interest case, I believe, that arose

   17     out of a statute that applied penalty interest when insurance

   18     claims weren't paid timely enough.            Insurance claims, an

   19     underlying insurance contract, not a personal right, not a

   20     personal -- invasion of a personal right or personal injury.

   21                So when you look at the case law in Michigan, the

   22     plaintiff urges this Court to adopt a rule that is simply --

   23     if it's a -- if the claim arises out of a statute, you must

   24     apply the six-year statute of limitations.

   25                But when you look at all the Michigan cases we cited,


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    1     there are numerous cases that have applied a three-year statute

    2     of limitations.      The Garg v. Macomb case, a three-year statute

    3     of limitations applied to a retaliation claim brought under the

    4     Elliott-Larsen Civil Rights Act.

    5                THE COURT:     Well, doesn't the Elliott-Larsen statute

    6     have its own statute of limitations?

    7                MR. HUGET:     No, it does not.

    8                THE COURT:     All right.

    9                MR. HUGET:     Same with the Stewart's Estate v.

   10     Armstrong case, the Armstrong case that we cited.

   11                THE COURT:     Stewart's Estate v. Armstrong?

   12                MR. HUGET:     Yes.    I'm sorry.      I'm a little dry.

   13                THE COURT:     No, no problem.

   14                MR. HUGET:     That was a wrongful death claim.        Wrongful

   15     death claims in Michigan arise by statute, not by common law,

   16     and yet they applied a three-year statute of limitations there.

   17                I could go on, your Honor, but I think that's -- the

   18     job that the Court has to do is starting with the nature and

   19     origin of the claim and then go from there, not simply decide

   20     that because it's a statutory cause of action the six-year must

   21     apply.

   22                And that's the essence of our argument, your Honor.

   23                THE COURT:     Did you take a look at Palmer Park

   24     Square v. Scottsdale Insurance?

   25                MR. HUGET:     Yes, your Honor.


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     1                THE COURT:    And tell me why that doesn't govern here.

     2     You didn't deal with that very much in your brief.

     3                MR. HUGET:    Yes, your Honor.        Palmer Park, when

     4     you look at it in the context of the consensual duty or the

     5     nonconsensual duty, when you look at the facts of the case, the

     6     underlying claims related to the failure to pay on an insurance

     7     contract.    The question became the statute of limitations

     8     applied to Michigan's penalty interest statute that kicks in

     9     when insurance claims aren't paid timely.

    10                This case falls cleanly into the bucket of a breach of

    11     an express promise bucket and not the injury to -- a personal

    12     injury or property.      It arises out of the failure to pay on

    13     an insurance contract, your Honor.           That's why it's

    14     distinguishable.

    15                THE COURT:    Okay.     Thank you.

    16                Who is arguing for the plaintiff?

    17                MR. HEDIN:    I will be, your Honor.           Frank Hedin on

    18     behalf of the plaintiff.

    19                THE COURT:    All right.      Did you file an appearance?

    20                MR. HEDIN:    I did, your Honor.

    21                THE COURT:    All right.      Go ahead, Mr. Hedin.

    22                MR. HEDIN:    Your Honor, Judge Ludington, in the

    23     Pratt v. KSE Sportsman Group opinion issued recently concerning

    24     the statute of limitations for a PPPA claim, considered and

    25     rejected all of the arguments, the same exact arguments with


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     1     respect to the same cause of action that the defendant is

     2     raising here.

     3               THE COURT:     Well, I don't think the defendant disputes

     4     that.    I think the defendant acknowledges that this is almost a

     5     cookie-cutter-type case, but he says Judge Ludington got to

     6     wrong.

     7               MR. HEDIN:     Judge Ludington got it right, your Honor.

     8               THE COURT:     I'm shocked to hear you say that.

     9               MR. HEDIN:     As Judge Ludington's opinion explained,

   10      the Sixth Circuit in Palmer Park Square unequivocally held that

   11      the residual six-year statute of limitations in Section 5813

   12      applies to statutory causes of action.

   13                And the Sixth Circuit cited to DiPonio Construction

   14      and to Department of Environmental Quality v. Gomez, two

   15      Michigan Court of Appeals decisions, both of which hold that

   16      statutory claims across the board are subject to the six-year

   17      limitation period because those claims do not arise from a

   18      breach of a common-law duty, they arise from a statutory duty.

   19                Judge, the Sixth Circuit, in Palmer Park Square, noted

   20      that there was no controlling authority in Michigan on the

   21      question of whether the six-year period applies to a statutory

   22      cause of action, but it surveyed decades worth of jurisprudence

   23      across Michigan and came to the conclusion that in predicting

   24      what the Michigan Supreme Court would ultimately decide on the

   25      question, that the six-year period applied to statutory causes


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     1     of action.

     2               THE COURT:     Well, how do you answer Mr. Huget's

     3     attempt to distinguish that on the basis that the claim in

     4     that case was for penalty interest that arose out of a breach

     5     of an insurance contract?

     6               MR. HEDIN:     So the claim in Palmer Park Square did

     7     not -- was actually found not to arise from the contract, it

     8     was found to arise from the statute.            It was a claim for

     9     untimely payment of insurance benefits.

   10                THE COURT:     Under a contract.

   11                MR. HEDIN:     Correct.     But the Sixth Circuit held that

   12      that was not a claim under the contract, it was a claim under

   13      the statute.     And notably, the Sixth Circuit in Palmer Park

   14      Square applied this consensual duty versus nonconsensual duty

   15      test in determining which statute of limitations period to

   16      apply.

   17                And the Sixth Circuit explained that that's the

   18      test that applies when you're distinguishing -- when you're

   19      determining whether to apply the breach of contract statute

   20      of limitation period or a tort statute of limitation period,

   21      either the three-year or the six-year.            It does not apply in

   22      a case where there is no contractual basis for the claim

   23      whatsoever, such as in this case.

   24                For example, another case that applies the consensual

   25      versus nonconsensual breach standard is -- excuse me,


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     1     your Honor -- Miller Davis.        And this is actually where the

     2     test comes from.     That was another contract case where the

     3     Court said, well, if it's a consent -- if it's a breach of a

     4     consensual duty, in other words, one imposed by a contract,

     5     then the contract statute of limitations period applies, the

     6     six-year period, and if it's breach of a nonconsensual duty,

     7     that is, one imposed by law, whether it be common law or

     8     statutory, you have to -- then at that point you have to

     9     determine which of those two applies, the three-year or the

   10      six-year.

   11                But where it's not a contract case, the test has no

   12      application.     If that were the test in a -- in determining

   13      whether a statutory cause of action is subject to the

   14      three-year or the six-year period, every duty imposed by

   15      statute is nonconsensual.        So under the defendant's logic,

   16      every statutory cause of action would be subject to a

   17      three-year period.

   18                But we know that's not the case.              Palmer Park Square

   19      says the exact opposite, that statutory causes of action are

   20      subject to the six-year period, full stop.

   21                That's what Judge Ludington held.               That's what the

   22      Michigan Court of Appeals held in DiPonio.                That's what the

   23      Michigan Court of Appeals held in Gomez.             It's what the

   24      Michigan Supreme Court held in Goldfarb.

   25                And the list goes on, including, recently, a Court in


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     1     this District in 2009, in Purnell v. Arrow Financial Services,

     2     the Court actually addressed head on the same type of

     3     common-law analog or resemblance to common-law argument that

     4     the defendant is making here saying, well, it's -- you know, it

     5     resembles a breach or an invasion of privacy claim at common

     6     law, so it's subject to the three-year period.

     7               The Court in Purnell specifically --

     8               THE COURT:     You acknowledge, do you not, that except

     9     for Pratt, none of those cases dealt with the PPPA; correct?

   10                MR. HEDIN:     That's correct, your Honor.

   11                THE COURT:     All right.      Continue.

   12                MR. HEDIN:     In Purnell the Court addressed the

   13      argument, the common-law analog argument and said the mere fact

   14      that plaintiff's allegations may in some manner be shoe-horned

   15      into a common-law tort cannot control in light of the clear

   16      directive that where a claim is for a statutory violation the

   17      six-year period in Section 5813 applies.

   18                That is exactly what we have here.              This is a claim

   19      not for personal -- for damages for injury to a person or a

   20      property.    This is a claim for violation of a statute, a breach

   21      of a statutorily imposed duty not to disseminate this type of

   22      personal information without consent.            That's what the claim

   23      arises from.     It does not arise at common law.

   24                And for those reasons, we believe that Palmer Park

   25      Square controls and that the Court should apply that holding


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     1     faithfully.

     2                THE COURT:    Thank you.

     3                Mr. Huget, any further argument?

     4                MR. HUGET:    Your Honor, the only point I will make is

     5     that we don't take the position that every claim should apply a

     6     three-year statute of limitations.

     7                THE COURT:    No, I don't think he is saying that you

     8     do.     I think he is saying that if we follow your logic, that's

     9     where it leads us.

   10                 MR. HUGET:    Well, the only -- well, and I would

   11      disagree with that logic.

   12                 The only logic here is that their position is that

   13      every statutory claim should now be subject to a six-year

   14      statute of limitation.       They are saying that's the effect of

   15      Judge Ludington's opinion, your Honor.             This just can't be the

   16      case.     That would be inconsistent with numerous cases that we

   17      cited earlier.     I won't repeat those, but they are in our

   18      brief, and I talked about those earlier.

   19                 THE COURT:    All right.

   20                 MR. HUGET:    Thank you, your Honor.

   21                 THE COURT:    Thank you.

   22                 It's kind of a rarity that an issue that's been teed

   23      up in motion papers is directly decided by another court only

   24      weeks before the oral argument is scheduled, and that's what

   25      we have here with the decision by Judge Ludington in the


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     1     Pratt case.

     2                The issues are very clear, and that is, which statute

     3     of limitations governs this dispute under this particular

     4     statute.

     5                There is no significant litigation history under the

     6     PPPA in Michigan courts, Michigan appellate courts, and there

     7     are no cases decided by the Michigan Supreme Court or the

     8     Michigan Court of Appeals that continue -- that considers

     9     which period of limitations applies under which statute.

   10                 The Pratt case held that Section 600.5813 applies,

   11      which establishes a six-year period of limitations.             And the

   12      significance of that -- the significance of that has to do with

   13      another -- oh, I suppose -- anomalous situation, and that is

   14      the fact that the Michigan Legislature amended the PPPA to

   15      eliminate the mandatory statutory damage award of $5,000 per

   16      incident for events that occurred before 2016.

   17                 And it is obvious to me that the plaintiff attempts

   18      to take advantage of the now-superseded statute which was not

   19      repealed, it was just amended, by claiming that the statutory

   20      violation took place prior to the amendment so that that

   21      statutory damage award would apply if liability is considered.

   22                 Now, as we have discussed, the Sixth Circuit recently

   23      considered, in Palmer Park, the statute of limitations that's

   24      applied to claims brought under Michigan statutes that do not

   25      specify a limitation period, and that Court relied on the


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     1     Michigan Court of Appeals decision in Gomez and also DiPonio

     2     and distinguishing actions for statutory violations with

     3     actions to redress injuries resulting from traditional torts.

     4     The Court held that Section 5813's catch-all provision applies

     5     to statutory causes of action, including those for civil fines.

     6               How do we deal with 1983 cases, then?

     7               Under 1983, the Supreme Court has held that the

     8     analogous statute of limitations in the particular state is

     9     the one that applies.

   10                Well, 1983, Section 1983 of Title 42 of the United

   11      States Code does not create a substantive cause of action.               It

   12      is essentially an enabling act that allows a litigant deprived

   13      by someone acting under color of law of rights established by

   14      other provisions of law, that is, the Constitution or laws of

   15      the United States, to bring a claim.

   16                And the Sixth Circuit had determined that

   17      constitutional torts, that is, torts that -- or I should say,

   18      wrongs that occur in violation of a duty imposed by the

   19      operation of law as opposed to operation of contract are the

   20      most analogous types of causes of action that trigger the

   21      three-year statute of limitations under those rules that govern

   22      Michigan tort claims.

   23                Frequently, 1983 claims are referred to as

   24      constitutional torts.      And so I don't believe that an analogy

   25      drawn to Section 1983 is particularly helpful in determining


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     1     the statute of limitation that applies here.

     2               The defendant really does not acknowledge or attempt

     3     to distinguish Palmer Park much in its brief and it really

     4     tends to mischaracterize the DiPonio decision on which Palmer

     5     Park relies.

     6               DiPonio did not limit the applicability of the

     7     six-year catch-all statute of limitations in Section 5813 to

     8     statutory violations having no common-law analog, as the

     9     defendant asserts.      Instead, DiPonio recognized that Michigan

   10      courts consistently have applied Section 5813 to cases where,

   11      and I'm quoting, "The right to recovery arose from a statute

   12      rather than a common-law right," not a statutory right that had

   13      some analog in the common law, such as an invasion of privacy,

   14      but a right that arose from the statute itself.

   15                The DiPonio Court then explicitly held that a civil

   16      cause of action arising from a statutory violation is subject

   17      to the six-year limitation period in Section 5813 if the

   18      statute itself does not provide a limitation period.

   19                The authority that Farm Journal does cite is not

   20      particularly apposite.       Several of the cases it cites where the

   21      Court applied a three-year statute of limitations deal with

   22      common-law invasion of privacy claims.

   23                The plaintiff has not brought a common-law claim here.

   24      Instead, she seeks to vindicate her statutorily conferred

   25      rights.


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     1               Farm Journal also cites several cases for the

     2     unremarkable proposition that the PPPA claims implicate privacy

     3     concerns, but the defendant has not cited any authority holding

     4     that under Michigan law courts must view every privacy-related

     5     claim as a tort for the purposes of determining the relevant

     6     statute of limitations or limitation period.

     7               In fact, all of the cases described by the PP --

     8     describe the PPPA as creating a privacy right in the respective

     9     matter.

   10                Michigan courts have rejected the common-law analog

   11      argument holding that Section 5813's catch-all six-year statute

   12      of limitations governs statutory claims notwithstanding the

   13      similarity of such claims to common-law torts, such as in the

   14      Estes matter.

   15                The Miller-Davis case, a Michigan Supreme Court case

   16      from 2011 cited by the defendant, also is distinguishable.               In

   17      that case the Michigan Supreme Court considered whether the

   18      statute of limitations for tort or contract claims applies in a

   19      dispute regarding building defects.

   20                Although the Court noted that the actions founded on a

   21      nonconsensual duty or one imposed by law are generally governed

   22      by a three-year statute of limitations, it did so only in the

   23      context of comparing tortious and contractual duties.             It did

   24      not hold that every action involving nonconsensual duties is

   25      governed by Section 5805's three-year statute of limitations


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     1     and there were no statutory claims in that case.

     2               If anything, the logic of Miller-Davis favors the

     3     plaintiff's position because the plaintiff there did not rely

     4     on any duty implied in law, but brought her claims solely under

     5     the PPPA -- that is, in this case -- and Miller-Davis suggests

     6     that the statute of limitations described in tort actions does

     7     not apply here.

     8               The plaintiff's claim is governed by Section 5813, and

     9     therefore, the claim appears to be timely for the purpose of

   10      this motion.

   11                The defendant also contends that the plaintiff lacks

   12      Article III standing because it basically sets up a catch-22

   13      for the plaintiff, stating that if the six-year statute governs

   14      then the plaintiff cannot establish that she suffered a

   15      concrete and particularized harm under the Supreme Court

   16      decisions that deal with statutory causes of action, most

   17      particularly, Spokeo v. Robins.

   18                The argument regarding statute of limitations, of

   19      course, is not jurisdictional, and I don't take the defendant

   20      to state that if the claim is voided by the statute of

   21      limitations that dispenses with the Article III standing

   22      argument.    I think everyone agrees that statutes of limitations

   23      are essentially claims-processing rules absent legislative

   24      language to the contrary.

   25                Second, though, it is well established that a properly


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     1     pleaded PPPA claim confers Article III standing, and the Sixth

     2     Circuit addressed that precise issue in Coulter-Owens, another

     3     decision that was not discussed by the defendant.

     4               The Court of Appeals in that case held that Spokeo

     5     does not apply where the plaintiff alleges a violation of the

     6     PPPA's most basic substantive provision, and that is, the

     7     privacy in one's reading materials.           A substantive violation

     8     occurs when a person's information is disclosed in violation of

     9     the statute.

   10                The plaintiff alleged that Farm Journal knowingly

   11      disclosed her subscriber and other demographic data, and

   12      therefore, she pleaded a cognizable injury in fact for the

   13      purpose of Article III standing.

   14                So there is no jurisdictional deficit here, subject

   15      matter jurisdictional deficit, and the statute of limitations

   16      does not bar this claim at this stage of the case.

   17                I don't know that I have -- have I given you a

   18      scheduling order in this case yet?

   19                MR. HEDIN:     I do not believe so, your Honor.

   20                THE COURT:     And are you seeking to certify a class?

   21                MR. HEDIN:     Yes.

   22                THE COURT:     All right.      I think what I will do, if you

   23      have a few minutes, if you're prepared to do that, is conduct a

   24      case management conference so we can get a scheduling order on

   25      the books.


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     1               Do you have some time to do that this afternoon?

     2               MR. HUGET:     Sure, your Honor.

     3               MR. HEDIN:     Certainly, your Honor.

     4               THE COURT:     We can do that in the courtroom if you'd

     5     like, off the record, or we can do it in chambers.                Are you

     6     comfortable meeting in chambers or would you rather not?

     7               MR. HUGET:     I'm comfortable with that.

     8               MR. HEDIN:     Yes, plaintiff is comfortable with that.

     9               THE COURT:     All right.       I'll just see you in chambers

   10      and I'll recess court.

   11                THE CLERK:     All rise.        Court is now in recess.

   12                      (Proceedings adjourned at 3:12 p.m.)

   13                                    *       *       *

   14

   15

   16                          CERTIFICATE OF COURT REPORTER

   17

   18              I certify that the foregoing is a correct transcript

   19     from the record of proceedings in the above-entitled matter.

   20

   21               s/ Rene L. Twedt                                 April 6, 2022
          RENE L. TWEDT, CSR-2907, RDR, CRR, CRC                     Date
   22         Federal Official Court Reporter

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